Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 1 of 24




                             Exhibit
                                       3
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 2 of 24




      July 22, 2019

      VIA FEDEX and EMAIL: pearl@palmbeachrealestateinc.com
      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      189 Bradley Place
      Palm Beach, FL 33480

      Re: Affordable Aerial Photography, Inc. v. Palm Beach Real Estate, Inc.
          Our File No.: 00022-0060


      Dear Ms. Pearl,

      We write on behalf of our client Affordable Aerial Photography, Inc. for purposes of
      resolving a case of copyright infringement against you by our client. This demand is
      privileged from disclosure pursuant to FRE Rule 408.

      Please provide this letter to your general liability insurance carriers or other providers of
      insurance that may cover this claim and refer them to the enclosed demand pursuant to
      § 627.4137, Florida Statutes, for insurance information in this matter.

      Affordable Aerial Photography, Inc. (“AAP”)
      Our client is an experienced professional photographer who makes a living from
      photography. Robert Stevens, owner of Affordable Aerial Photography, Inc., is a high-
      end real estate photographer who makes his living photographing million-dollar homes
      for real estate agents. Stevens is an employee of his company, AAP, which provides
      photo shoots to a client’s specifications. Stevens is self-taught, but his photographs rival
      those taken by photographers who charge thousands more. AAP licenses its photos to
      agents pursuant to a written license. The license is granted only to the agent for whom
      the photos were taken.

      AAP retains all copyrights to its photographs. AAP licenses its copyrighted Works, such
      as the ones in this case, for commercial use.

      In 2011, Robert Stevens created images listed in the table below, hereinafter referred to
      as the “Works.”
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 3 of 24

      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      July 22, 2019
      Page 2


           Copyright Title           Registration Number   Registration Issue Date
      Palm Beach Island Sunrise         VA 1-970-038              9/16/2015
       2011 AAP, Nov. 22, 2011
       3813 N Ocean Blvd low            VA 2-107-890             6/21/2018
          aerial 2016 AAP


      The Works at issue are shown below. At the time the Works were created, AAP applied
      Copyright Management Information to the images.
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 4 of 24

      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      July 22, 2019
      Page 3


      Infringement by Palm Beach Real Estate, Inc. (“PBRE”)
      The infringement at issue was identified on July 5, 2018. We have enclosed
      contemporaneous evidence of the infringement by PBRE. In addition to the
      infringement, AAP’s photograph was very obviously cropped as shown on the attached.

      You have employed our client’s Works in at least the manner indicated in the evidence
      attached. Your unauthorized use commenced on at least the date indicated above. You
      are fully aware that the Works you used are our client’s Works. No one from your
      company ever sought a license from our client to use the Works for any purpose.

      You have copied, displayed and distributed our client's Works without permission,
      license or consent. The use of a creator's photographic image without written consent or
      license violates the United States Code, Title 17, and The Copyright Act. The Copyright
      Act provides for entry of an injunction directing removal of the offending materials
      pending litigation. This letter shall serve as formal notice that you immediately cease
      and desist all unauthorized uses of our client’s Works. Any such further uses shall be at
      your peril.

      If you possess a contract, license, agreement or writing on which you will rely for
      authorization of your use of our client’s Works, please provide us with this evidence so
      we may avoid further controversy or litigation. Otherwise, we will be forced to assume
      that your use violated the law.

      Damages
      Copyright law provides several different elements of compensation to AAP when a
      work is infringed or altered. Section 504 permits AAP to recover actual damages plus
      “any additional profits of the infringer that are attributable to the infringement and are
      not taken into account in computing the actual damages,” or statutory damages of up to
      $150,000 per work infringed if the registration predated the infringement. AAP can
      present both damages theories to the jury and select the higher award any time prior to
      entry of judgment.

      Academic studies have demonstrated that the use of good quality photographs more
      effectively market and advertise products and drive sales. AAP’s photographs are of the
      highest quality. AAP’s photographs are also scarce since it is one of the only sources of
      such quality photographs.

      AAP’s damages are not limited to what it would have agreed to license the Works for
      prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
      market value of the photograph considering PBRE’s use to sell and promote its business.
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 5 of 24

      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      July 22, 2019
      Page 4


      AAP’s actual damages must be measured in light of PBRE’s use of AAP’s high quality
      and unique Works.

      This is consistent with federal courts’ approach to broadly construing the term “actual
      damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
      (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
      approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
      Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
      addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
      time and materials basis.

      Section 504 of the Copyright Act permits AAP to recover actual damages plus “any
      additional profits of the infringer that are attributable to the infringement and are not
      taken into account in computing the actual damages.” Therefore, AAP will also be
      entitled to PBRE’s profits from the infringement, based upon the revenue PBRE earned
      in connection with the use of AAP’s Works.

      Alternatively, AAP could seek statutory damages for infringement in an amount of up
      to $30,000 per work infringed if the registration predated the infringement. There is also
      the possibility that a judge or jury could determine that PBRE’s infringement was willful.
      If PBRE’s infringement was shown to be willful, the statutory damage award would
      increase to an amount up to $150,000 per work infringed.

      There is also the issue of the removal of AAP’s copyright management information. 17
      USC 1203(c)(3)(B) permits AAP to recover statutory damages of not less than $2,500 or
      more than $25,000 per violation of the prohibition against alteration or removal of
      copyright management information contained in Section 1202. Based upon PBRE’s
      removal of AAP’s CMI, AAP will seek the maximum statutory damages of $25,000 per
      photograph against PBRE for this violation.

      Demand
      In order to determine how to proceed, please provide us with information and
      documents showing:

      1.     the full nature and extent of the use of our client's Works, in any and all formats;

      2.     representative copies in any and all tangible form and media in which our
             client's Works were incorporated or employed; and

      3.     the source of the Works.
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 6 of 24

      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      July 22, 2019
      Page 5


      Upon receipt of this information we will consider and determine an appropriate amount
      required to be paid to our client in compensation.

      Please carefully consider this letter and the associated exhibits and provide them to your
      attorneys and insurance carriers. If we do not receive a response from you or a
      representative by August 5, 2019, we will take further steps to protect our client’s rights.
      We look forward to your prompt response.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/ld
      Enclosures
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 7 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 8 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 9 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 10 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 11 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 12 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 13 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 14 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 15 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 16 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 17 of 24




      July 22, 2019

      VIA FEDEX and EMAIL: pearl@palmbeachrealestateinc.com
      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      189 Bradley Place
      Palm Beach, FL 33480

      Re: Affordable Aerial Photography, Inc. v. Palm Beach Real Estate, Inc.
          Our File No.: 00022-0060


      Dear Ms. Pearl,

      We write pursuant to § 627.4137, Florida Statutes, to demand a response with insurance
      information for each known policy of liability insurance your clients may have that may
      provide coverage for all or a portion of our client’s claims in this matter:

         (a) The name of the insurer.
         (b) The name of each insured.
         (c) The limits of the liability coverage.
         (d) A statement of any policy or coverage defense which such insurer reasonably
             believes is available to such insurer at the time of filing such statement, and
         (e) A copy of the policy.

      Thank you in advance for your anticipated cooperation.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/ld
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 18 of 24




      October 1, 2019

      VIA EMAIL: pearl@palmbeachrealestateinc.com
      Ms. Tara Pearl
      Palm Beach Real Estate, Inc.
      189 Bradley Place
      Palm Beach, FL 33480

      Re: Affordable Aerial Photography, Inc. v. Palm Beach Real Estate, Inc.
          Our File No.: 00022-0060


      Dear Ms. Pearl,

      We write this follow up letter on behalf of our client Affordable Aerial Photography, Inc.
      for the purposes of resolving a case of copyright infringement against you by our client.
      This demand is privileged from disclosure pursuant to FRE Rule 408.

      Enclosed please find our prior letter dated July 22, 2019, wherein we detailed the basis of
      the copyright infringement claim against you, including the evidence of infringement.

      Our client has identified additional uses of his Works by you, copies of which are
      attached hereto, together with a copy of the Registration Certificate for the Work. It is
      imperative that you respond to us. If we do not hear from you, we will be forced to take
      further steps to protect our client’s rights, including filing a lawsuit against you. We
      also repeat our demand that you tender this claim to your insurance carrier. We look
      forward to your prompt response.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/jcj
      Attachments
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 19 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 20 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 21 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 22 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 23 of 24
Case 9:20-cv-81307-RKA Document 1-3 Entered on FLSD Docket 08/12/2020 Page 24 of 24
